Case 2:24-cv-09497-JKS-JSA    Document 1   Filed 09/27/24   Page 1 of 45 PageID: 1




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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY

 SECURITIES AND EXCHANGE
 COMMISSION,
                                                    Civil Action No.
                             Plaintiff,
                                                    Complaint for Violations
               -against-                            of the Federal Securities
                                                    Laws
 ROBERT B. WESTBROOK,
                                                    Jury Trial Demanded
                             Defendant.



      Plaintiff Securities and Exchange Commission (“Commission”), located at

100 Pearl Street, Suite 20-100, New York, New York 10004-2616, alleges as

follows against Robert B. Westbrook (“Westbrook” or the “Defendant”), whose

last known address is 5B Radnor Walk, Chelsea, London SW3 4BP, United

Kingdom:
Case 2:24-cv-09497-JKS-JSA     Document 1     Filed 09/27/24    Page 2 of 45 PageID: 2




                                    SUMMARY

      1.     This is a “hack-to-trade” case. Specifically, this case involves a

fraudulent scheme by Westbrook to hack into the computer systems of U.S. public

companies to deceptively obtain material nonpublic information about their

corporate earnings and to use that information to profit by trading in advance of the

companies’ public earnings announcements.

      2.     Between approximately January 2019 and August 2020 (the “Relevant

Period”), Westbrook directly or indirectly made material misstatements and used

deceptive means to access the computer systems of at least five companies with

shares of stock publicly traded on U.S. securities exchanges (each a “Hacked

Company” and collectively the “Hacked Companies”).1 This included that

Westbrook: used the credentials of the Hacked Companies’ employees without

authorization (e.g., usernames and passwords that did not belong to Westbrook);

made affirmative misrepresentations that he was one of those employees or other

legitimate user of the Hacked Companies’ computer systems; and used tools and

techniques to conceal his identity and location while conducting the hacking.

      3.     Westbrook gained unauthorized access into the Hacked Companies’

computer systems to obtain pre-release corporate earnings information—including



1
 As explained further below, the “Hacked Companies” are identified herein as
“Company-1,” “Company-2,” “Company-3,” “Company-4,” and “Company-5.”
                                          2
Case 2:24-cv-09497-JKS-JSA      Document 1     Filed 09/27/24   Page 3 of 45 PageID: 3




draft earnings releases, press releases, and scripts—and then used that information

to trade in the securities of the Hacked Companies in advance of their public

earnings announcements. Prior to these public earnings announcements,

Westbrook established large and risky options positions in the Hacked Companies’

securities, and often sold out of those positions shortly after the public earnings

announcements.

      4.     In deceptively obtaining nonpublic earnings information from the

Hacked Companies and trading in their securities in advance of at least 14 earnings

announcements, Westbrook reaped approximately $3.75 million in illicit profits.2

      5.     By engaging in this conduct, Westbrook violated Section 10(b) of the

Securities Exchange Act of 1934 (“Exchange Act”) [15 U.S.C. § 78j(b)] and Rule

10b-5 thereunder [17 C.F.R. § 240.10b-5].

           NATURE OF THE PROCEEDINGS AND RELIEF SOUGHT

      6.     The Commission brings this action pursuant to the authority conferred

upon it by Sections 21 and 21A of the Exchange Act [15 U.S.C. §§ 78u, 78u-1].

      7.     The Commission seeks a final judgment: (a) permanently enjoining

Westbrook from violating the federal securities laws and rules this Complaint



2
 Westbrook’s trades in advance of four of the 14 earnings announcements were
unprofitable, even though he traded based on material nonpublic information.
These unprofitable trades were excluded from the calculation of Westbrook’s illicit
profits.
                                           3
Case 2:24-cv-09497-JKS-JSA      Document 1     Filed 09/27/24    Page 4 of 45 PageID: 4




alleges he has violated; (b) ordering Westbrook to disgorge all ill-gotten gains he

received as a result of the violations alleged herein and to pay prejudgment interest

thereon, pursuant to Sections 21(d)(3), 21(d)(5), and 21(d)(7) of the Exchange Act

[15 U.S.C. §§ 78u(d)(3), 78u(d)(5), and 78u(d)(7)]; and (c) ordering Westbrook to

pay a civil money penalty pursuant to Sections 21A(a) or 21(d) of the Exchange

Act [15 U.S.C. §§ 78u-1, 78u(d)(3)]. The Commission seeks any other relief the

Court may deem appropriate pursuant to Section 21(d)(5) of the Exchange Act [15

U.S.C. § 78u(d)(5)].

                          JURISDICTION AND VENUE

      8.     This Court has jurisdiction over this action pursuant to Sections 21(d),

21(e), 21A and 27 of the Exchange Act [15 U.S.C. §§ 78u(d), 77u(e), 78u-1, and

78aa]. Westbrook, directly or indirectly, made use of the means or

instrumentalities of interstate commerce, or of the mails, or the facilities of a

national securities exchange in connection with the transactions, acts, practices,

and courses of business alleged in this Complaint. Westbrook deceptively obtained

material nonpublic information from U.S. public companies and used the

information to make securities trades that were cleared through U.S.-based

brokerage firms and placed on multiple national securities exchanges, in a manner

that used the instrumentalities of interstate commerce.

      9.     Venue lies in this District under Section 27 of the Exchange Act [15


                                           4
Case 2:24-cv-09497-JKS-JSA          Document 1   Filed 09/27/24   Page 5 of 45 PageID: 5




U.S.C. § 78aa]. Certain of the purchases and sales of securities and acts, practices,

transactions, and courses of business constituting violations alleged in this

Complaint occurred within this District, and were effected, directly or indirectly,

by making use of the means, instruments, or instrumentalities of transportation or

communication in interstate commerce, or of the mails, or the facilities of national

securities exchanges. Specifically, many of the illegal securities transactions were

conducted using various national securities exchanges, such as the Nasdaq Global

Market Select (“Nasdaq”) and the New York Stock Exchange (“NYSE”), including

one or more transactions that was processed using data servers located in New

Jersey. Furthermore, under 28 U.S.C. § 1391(c)(3), venue lies in this District

because Westbrook, as a foreign national residing outside the United States, may

be sued in any judicial district.

                                      DEFENDANT

      10.    Robert B. Westbrook, age 38, is a citizen and resident of the United

Kingdom. Westbrook holds himself out as having studied economics at the

University of Oxford, and he worked in several positions in the financial industry

in London. During the Relevant Period, Westbrook held several brokerage

accounts with firms based in the United States and held several brokerage accounts

with firms in the United Kingdom.




                                            5
Case 2:24-cv-09497-JKS-JSA       Document 1       Filed 09/27/24   Page 6 of 45 PageID: 6




                      TERMS USED IN THIS COMPLAINT

      11.    A stock option, commonly referred to as an “option,” gives its

purchaser-holder the right to buy or sell shares of an underlying stock at a specified

price (the “strike” price) prior to the expiration date. Options are generally sold in

“contracts,” which give the option holder the opportunity to buy or sell 100 shares

of the underlying stock.

      12.    A “call” option gives the purchaser-holder of the option the right, but

not the obligation, to purchase a specified amount of an underlying security at a

specified strike price within a specific time period. Generally, the buyer of a call

option anticipates that the price of the underlying security will increase during a

specified amount of time, allowing the buyer of the call option to make a profit

from the difference between the higher market price of the underlying security and

the strike price (less the cost of the option).

      13.    A “put” option gives the holder of the option the right, but not the

obligation, to sell a specified amount of an underlying security at a specified strike

price within a specific time period. Generally, the buyer of a put option anticipates

that the price of the underlying security will decrease during a specified amount of

time, allowing the buyer of the put option to make a profit from the difference

between the strike price (less the cost of the option) and the lower market price of

the underlying security.


                                            6
Case 2:24-cv-09497-JKS-JSA       Document 1      Filed 09/27/24   Page 7 of 45 PageID: 7




      14.    An out-of-the-money call option refers to an option that would expire

worthless unless the price of the underlying stock rose by a certain amount before

expiration. Specifically, in the case of a call option, out-of-the-money refers to a

scenario where the strike price is higher than the market price of the stock that

underlies the call option.

      15.    An out-of-the-money put option refers to an option that would expire

worthless unless the price of the underlying stock fell by a certain amount before

expiration. Specifically, in the case of a put option, out-of-the-money refers to a

scenario where the strike price is lower than the market price of the stock that

underlies the put option.

      16.    Generally, the higher the strike price is above the stock price, the

more inexpensive the call option will be to purchase. This is because it would take

an upward move in the price of the underlying stock that is large enough to surpass

the option’s strike price for the call option to become in-the-money and become

more valuable—and thus avoid expiring worthless. As a result, the higher the

strike price of a call option is above the stock price, the greater the risk the call

option will expire worthless.

      17.    Similarly, the nearer an out-of-the-money call option is to its

expiration date, the greater the risk the call option will expire worthless. This

results from the fact that there is simply less time for the price of the underlying


                                            7
Case 2:24-cv-09497-JKS-JSA      Document 1     Filed 09/27/24    Page 8 of 45 PageID: 8




stock to rise enough to make the call option more valuable and avoid expiring

worthless.

      18.    Likewise, the lower the strike price of a put option is below the stock

price, the more inexpensive the put option will be to purchase. This is because it

would take a downward move in the price of the underlying stock that is large

enough to fall below the option’s strike price for the put option to become in-the-

money and become more valuable and thus avoid expiring worthless. As a result,

the lower the strike price is below the stock price, the greater the risk the put option

will expire worthless.

      19.    Similarly, the nearer an out-of-the-money put option is to its

expiration date, the greater the risk the put option will expire worthless. This

results from the fact that there is simply less time for the price of the underlying

stock to fall enough to make the put option more valuable and avoid expiring

worthless.

      20.    An “internet protocol address” or “IP address” is a unique number

required for online activity conducted by a computer or other device connected to

the internet. Computers use the unique identifier to send data to specific computers

on a network. Often, IP addresses can be used to identify the geographic location

of the server through which a computer accessed the internet. Thus, an IP address

is like a return address on a letter. Additionally, an individual can conceal the IP


                                           8
Case 2:24-cv-09497-JKS-JSA        Document 1   Filed 09/27/24   Page 9 of 45 PageID: 9




address from which he or she is accessing the internet through a number of

different techniques and tools.

      21.    A “virtual private network” or “VPN” is one such tool that an

individual can use to conceal his or her IP address. A VPN enables an individual to

assume and use IP addresses different from his or her own, including IP addresses

associated with different geographical regions.

                                       FACTS

I.    Overview of the Hack-to-Trade Scheme

      22.    During the Relevant Period, Westbrook engaged in an unlawful

scheme in which he directly or indirectly used deceptive means to access the

computer systems of at least five publicly-traded U.S. companies and then used

that information to trade in advance of their earnings announcements.

      23.    Each of the Hacked Companies is a company that has shares of stock

that are registered under Section 12(b) of the Exchange Act and that are publicly

traded on a U.S. national securities exchange. In connection with their reporting

obligations under the securities laws, the Hacked Companies prepared periodic and

other reports to be filed with the Commission and disseminated to the investing

public, including materials relating to the Hacked Companies’ earnings. This

included, among other things, drafts of earnings releases, press releases, and scripts

for earnings announcements and related internal emails.


                                          9
Case 2:24-cv-09497-JKS-JSA     Document 1       Filed 09/27/24   Page 10 of 45 PageID: 10




       24.    The information contained in these documents and emails was

 nonpublic because it had not yet been published or filed in a manner designed to

 achieve a broad dissemination to the investing public generally and without

 favoring any person or group.

       25.    The information contained in these documents and emails was also

 material. The Hacked Companies’ information would have been important to the

 reasonable investor and viewed by the reasonable investor as having significantly

 altered the total mix of information made available. Information about a

 company’s earnings is material because it relates to, among other things, a public

 company’s financial condition, solvency, and profitability. For example, public

 disclosure of earnings information frequently leads to a change in the price of a

 company’s stock. It is common for financial analysts to estimate and/or model a

 given company’s quarterly or annual earnings. The market reaches a consensus

 expectation based in part on these different estimates. When a company releases its

 earnings announcements, the price at which shares of that company’s stock trade

 often increases (if earnings exceed market expectations) or decreases (if earnings

 fall short of market expectations).

       26.    Westbrook knowingly, or with reckless disregard, made material

 misrepresentations, affirmatively misrepresented his identity, and employed a

 variety of deceptive and fraudulent devices, contrivances, artifices, practices,


                                           10
Case 2:24-cv-09497-JKS-JSA       Document 1    Filed 09/27/24   Page 11 of 45 PageID: 11




 means, and acts to access the computer systems of the five Hacked Companies.

 Specifically, Westbrook used, among other things: deceptively-obtained

 credentials of the Hacked Companies’ employees; VPN services to conceal the IP

 address from which he accessed the internet; and anonymous email accounts to

 conceal his identity.

       27.    The hacking incidents each followed a similar pattern, with some

 limited exceptions, and occurred before the Hacked Companies were set to

 publicly announce earnings.

              a.     First, Westbrook reset a senior executive’s computer system

                     password at each of the Hacked Companies. Four of the five

                     Hacked Companies used the same password reset portal

                     software.

              b.     Second, Westbrook used the senior executive’s username and

                     reset password to access the Hacked Company’s computer

                     system, including the senior executive’s Microsoft Office 365

                     (“Office 365”) account and Microsoft Outlook email account

                     (“Outlook”). In each hacking incident, the senior executive’s

                     Outlook contained emails with material nonpublic information

                     about the Hacked Company’s upcoming earnings

                     announcement.


                                          11
Case 2:24-cv-09497-JKS-JSA     Document 1      Filed 09/27/24   Page 12 of 45 PageID: 12




              c.    Third, Westbrook set up (or attempted to set up) email auto-

                    forwarding rules in the senior executive’s Outlook. Those rules

                    were designed to forward emails containing nonpublic

                    information about the Hacked Company’s earnings from the

                    senior executive’s Outlook to one of several anonymous email

                    accounts that Westbrook accessed.

              d.    Fourth, in advance of the Hacked Company’s public earnings

                    announcement, Westbrook purchased stock and/or options in

                    the Hacked Company based on the nonpublic earnings

                    information that he deceptively obtained.

              e.    And finally, Westbrook typically liquidated his securities

                    positions in the Hacked Company shortly after its public

                    earnings announcement and reaped significant profits.

       28.    Westbrook placed securities trades in the Hacked Companies on

 national securities exchanges through U.S.-based broker dealers, in a manner that

 utilized instrumentalities of interstate commerce.

       29.    By repeatedly engaging in this course of conduct—deceptively

 obtaining information from the Hacked Companies that he knew or recklessly

 disregarded was material and nonpublic and then trading in their securities in

 advance of their earnings announcements—Westbrook reaped approximately $3.75


                                          12
Case 2:24-cv-09497-JKS-JSA     Document 1      Filed 09/27/24   Page 13 of 45 PageID: 13




 million in illicit profits.

 II.     Examples of the Hack-to-Trade Scheme

         30.   Below are several examples where Westbrook deceptively obtained

 material nonpublic information from the Hacked Companies and traded profitably

 in the securities of the Hacked Companies based on that information.

       A. Hack of Company-1

         31.   During the Relevant Period, Company-1 was a Delaware corporation

 headquartered in Orlando, Florida. It had a class of shares registered under Section

 12(b) of the Exchange Act and its common stock traded on the NYSE.

         32.   On January 26, 2019, Westbrook hacked into Company-1’s computer

 system by misrepresenting his identity and deceptively using the credentials of an

 employee of Company-1.

         33.   Specifically, Westbrook reset the password of a senior finance

 executive of Company-1 (“Executive-1”) through Company-1’s password reset

 portal. After he reset the password, Westbrook accessed Company-1’s computer

 system, including Executive-1’s Outlook.

         34.   While inside Company-1’s computer system, Westbrook gained

 access to documents and emails containing material nonpublic information about

 Company-1’s earnings for the fourth quarter of its fiscal year 2018. These emails

 included one that Executive-1 received on January 22, 2019, which contained a


                                          13
Case 2:24-cv-09497-JKS-JSA     Document 1       Filed 09/27/24   Page 14 of 45 PageID: 14




 draft press release about the company’s fourth quarter financial results. The draft

 press release stated, among other things, that Company-1’s net sales were down

 14% and that its dividend would be $0.27 per share. The draft press release also

 forecast its fiscal year 2019 earnings per share in the range of $4.06 to $4.21. This

 was negative news because, by comparison, Company-1 paid a dividend of $0.68

 per share in the prior quarter, and the consensus expectations of securities market

 analysts predicted earnings per share for the same period of $4.45.

       35.    While inside Executive-1’s Outlook, Westbrook also created auto-

 forwarding rules designed to send all emails that Executive-1 received containing

 attachments to Aleksandrdubois1[@]gmail.com (“Aleksandrdubois”)—an

 anonymous email account that Westbrook accessed. The auto-forwarding rules

 were likely unsuccessful, however, because Company-1’s computer systems had

 been configured to prevent email auto-forwarding for all users.

       36.    Westbrook purchased Company-1’s securities based on information

 he deceptively obtained and knew or recklessly disregarded was material and

 nonpublic regarding Company-1’s financial results.

       37.    Starting on January 28, 2019 at approximately 3:20 pm EST—less

 than two days before Company-1 publicly announced its financial results for the

 fourth quarter of its fiscal year 2018—and continuing the next day, Westbrook

 purchased a total of 670 Company-1 put options across five different option series.


                                           14
Case 2:24-cv-09497-JKS-JSA       Document 1       Filed 09/27/24   Page 15 of 45 PageID: 15




 Specifically, Westbrook purchased the following Company-1 put options at a total

 cost of $129,429:

   Put Options Purchased             Expiration Date                 Strike Price
            50                          2/15/19                          $30
            110                         2/15/19                          $35
            200                         2/15/19                          $40
            230                         3/15/19                          $35
            80                          3/15/19                          $40

       38.    The next day, on January 29, 2019, Westbrook sent an email to

 another individual stating, “Wanted to flag my idea on [Company-1], which I have

 reasonable conviction on (as reflected in the sizing relative to the portfolio) . . . this

 is my favorite idea – my view is there is significant guidance risk here.”

       39.    On January 30, 2019, at approximately 7am EST, Company-1

 reported its financial results for the fourth quarter of its fiscal year 2018 and

 announced the dividend it would be paying to shareholders. Those results reflected

 material information about Company-1’s earnings that was included in the draft

 press release that Westbrook gained access to when he hacked into Company-1’s

 computer system several days earlier, including that Company-1’s net sales were

 down 14%, that its dividend would be 27 cents per share, and that the forecast for

 its fiscal year 2019 earnings per share was in the range of $4.06 to $4.21.

       40.    By the close of regular market trading that day, Company-1’s stock

 price declined 27%—from a closing price of $38.13 on January 29, 2019 to a

 closing price of $27.67 on January 30, 2019.
                                             15
Case 2:24-cv-09497-JKS-JSA    Document 1       Filed 09/27/24   Page 16 of 45 PageID: 16




       41.   On January 30, 2019, the same day that Company-1 reported its

 financial results, Westbrook sold his entire position of Company-1 put options for

 proceeds of $452,210. As a result of his trading in Company-1 securities in

 connection with this earnings announcement, Westbrook obtained a total profit of

 approximately $322,781.

       42.   The options positions Westbrook established in Company-1 prior to

 this earnings announcement were large and risky. Westbrook’s purchases of

 Company-1 put options on January 28, 2019 accounted for approximately 16% of

 all Company-1 put options traded that day.3 Similarly, Westbrook’s purchases of

 Company-1 put options on January 29, 2019 accounted for approximately 32% of

 all Company-1 put options traded that day. In fact, going into Company-1’s

 earnings announcement on January 30, 2019, Westbrook was the only retail holder

 of more than 200 Company-1 put options.

     B. Hack of Company-2

       43.   During the Relevant Period, Company-2 was a Massachusetts

 corporation headquartered in Los Angeles, California. It had a class of shares

 registered under Section 12(b) of the Exchange Act and its common stock traded

 on the NYSE.


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   Westbrook’s purchases of Company-1 put options also accounted for
 approximately 78% of all Company-1 put options expiring in February 2019 that
 traded in the market on January 28, 2019.
                                          16
Case 2:24-cv-09497-JKS-JSA     Document 1       Filed 09/27/24   Page 17 of 45 PageID: 17




       44.    On or about February 15, 2019, Westbrook hacked into Company-2’s

 computer system. Company-2 used the same password reset portal software as

 Company-1, Company-4, and Company-5.

       45.    Specifically, Westbrook gained access to and set up an auto-

 forwarding rule in the Outlook email account of a senior accounting executive of

 Company-2 (“Executive-2”). That auto-forwarding rule was designed to send

 emails that Executive-2 received from any of four specified Company-2 employees

 to Harris.Slama402[@]aol.com (“Harris.Slama”)—an anonymous email account

 that Westbrook accessed. That auto-forwarding rule began on or about February

 15, 2019 and continued until at least January 2021.

       46.    As a result of the email auto-forwarding rule, Westbrook accessed

 emails containing material nonpublic information about Company-2’s unreported

 financial results. For instance, emails auto-forwarded from Executive-2’s Outlook

 to Harris.Slama between approximately April 30, 2020 and May 6, 2020 contained

 nonpublic information about Company-2’s financial results for the first quarter of

 its fiscal year 2020. This forwarded information included an April 30, 2020 draft

 earnings call script, which stated, among other things, “Our first-quarter results

 were outstanding and well ahead of expectations”; the company “delivered double-

 digit revenue growth across all our segments”; “[r]evenue for the first quarter was

 $1.3 billion, up 30%”; and net income for “the first quarter of 2020 was $17.4


                                           17
Case 2:24-cv-09497-JKS-JSA      Document 1      Filed 09/27/24   Page 18 of 45 PageID: 18




 million, or $0.34 per diluted share.” The forwarded information also included a

 May 1, 2020 draft Form 10-Q for the first quarter of its fiscal year 2020, which

 similarly reflected a revenue for the quarter of approximately $1.3 billion and

 diluted earnings per share of $0.34.

       47.    Westbrook purchased Company-2’s securities based on information

 he deceptively obtained and knew or recklessly disregarded was material and

 nonpublic regarding Company-2’s financial results.

       48.    Starting on May 4, 2020—two days before Company-2 was scheduled

 to announce its financial results—Westbrook purchased Company-2 stock and

 3,706 Company-2 call options across eight different option series for a total cost of

 approximately $789,743. Specifically, Westbrook purchased 40,000 shares of

 Company-2 stock at a cost of $256,951, and the following Company-2 call options

 at a total cost of $532,792:

   Call Options Purchased           Expiration Date                 Strike Price
             360                       5/15/20                         $5.00
             818                       5/15/20                         $7.50
             300                       6/19/20                         $5.00
            1000                       6/19/20                         $7.50
             200                       10/16/20                        $5.00
             812                       10/16/20                        $7.50
             200                       12/18/20                        $5.00
             16                        12/18/20                        $7.50

       49.    On May 6, 2020, after the stock market closed, Company-2

 announced its financial results for the first quarter of its fiscal year 2020. Those

                                           18
Case 2:24-cv-09497-JKS-JSA      Document 1      Filed 09/27/24   Page 19 of 45 PageID: 19




 results reflected material information about Company-2’s earnings that was

 included in the draft earnings call script and draft Form 10-Q that Westbrook

 gained access to as a result of the email auto-forwarding rules he created in

 February 2019—such as revenue of $1.3 billion and diluted earnings per share of

 $0.34.

          50.   Company-2’s earnings announcement reported higher revenue of $1.3

 billion compared to consensus expectations of securities market analysts of $1.03

 billion, and a higher diluted earnings per share number of $0.34 compared to

 consensus expectations of $0.06.

          51.   By the close of regular market trading the next day, Company-2’s

 stock price had increased by approximately 30%—from a closing price of $6.19 on

 May 6, 2020 to a closing price of $8.03 on May 7, 2020.

          52.   On May 7, 2020, the day after Company-2 announced its financial

 results, Westbrook sold half of his Company-2 stock and approximately 40% of his

 Company-2 call options, obtaining a realized profit of approximately $101,343. As

 of the close of trading that day, Westbrook’s remaining position in Company-2

 securities had generated unrealized profits of approximately $209,141, for a total

 realized and unrealized gain of approximately $310,485.

          53.   The options positions Westbrook established in Company-2 prior to

 this earnings announcement were large and risky. Westbrook’s purchases of


                                           19
Case 2:24-cv-09497-JKS-JSA     Document 1       Filed 09/27/24   Page 20 of 45 PageID: 20




 Company-2 call options between May 4, 2020 and May 6, 2020 accounted for

 approximately 70% of all Company-2 call options purchased between those dates.

 In fact, going into Company-2’s earnings announcement on May 7, 2020,

 Westbrook owned more Company-2 call options than any other market participant.

 Westbrook’s call options position was more than six times the size of the call

 options position of the next largest holder.

       54.    Notably, Westbrook traded in advance of Company-2’s earnings

 announcements from on or about the time that Executive-2’s emails were auto-

 forwarded to the Harris.Slama account in February 2019 until May 2020—a period

 when Westbrook was aware of material nonpublic information about Company-2’s

 financial results.

       55.    All told, Westbrook obtained total profits of approximately $391,475

 from his trading in Company-2 securities between May 2019 and May 2020.

    C. Hack of Company-3

       56.    During the Relevant Period, Company-3 was a Delaware corporation

 headquartered in San Mateo, California. It had a class of shares registered under

 Section 12(b) of the Exchange Act and its common stock traded on the NYSE.

       57.    On February 21, 2019, Company-3 issued a press release stating that

 it would announce its financial results for the second quarter of its fiscal year 2019

 on March 6, 2019 after market close.


                                           20
Case 2:24-cv-09497-JKS-JSA      Document 1      Filed 09/27/24   Page 21 of 45 PageID: 21




       58.    The next day, on February 22, 2019, Westbrook hacked into

 Company-3’s computer system by misrepresenting his identity and deceptively

 using the credentials of an employee of Company-3.

       59.    Specifically, Westbrook reset the computer system password of a

 senior finance executive of Company-3 (“Executive-3”). After he reset the

 password, Westbrook accessed Company-3’s computer system, including

 Executive-3’s Office 365 account and Outlook.

       60.    While inside Executive-3’s Outlook, Westbrook created four auto-

 forwarding rules designed to send certain emails from Executive-3 to

 barnesbainesbjorn[@]gmail.com (“Barnesbainesbjorn”)—an anonymous email

 account Westbrook accessed. In particular, the auto-forwarding rules were

 designed to forward, among others, emails containing attachments and Company-

 3’s stock ticker in the email subject or body, as well as emails containing “script”

 in the email subject or body. Those auto-forwarding rules began to forward emails

 that same day and continued until approximately March 2021.

       61.    While inside Executive-3’s Outlook, Westbrook gained access to

 documents and emails containing material nonpublic information about Company-

 3’s financial results for the second quarter of its fiscal year 2019. This included a

 draft script of an earnings call that Executive-3 had received on February 19, 2019.

 That draft script stated, in part, that Company-3’s “[t]otal revenue in the quarter of


                                           21
Case 2:24-cv-09497-JKS-JSA     Document 1      Filed 09/27/24   Page 22 of 45 PageID: 22




 $168.6 million was above the high-end of our guidance range” and that the quarter

 was “characterized by strong business momentum.” Because of the email auto-

 forwarding rules that Westbrook created above, subsequent drafts of this earnings

 call script were also sent to the Barnesbainesbjorn account. This included a

 February 23, 2019 draft script, which stated that Company-3’s “financial results

 exceeded our revenue and profitability guidance ranges, with total revenue of

 $169.3 million[.]”

       62.    Westbrook purchased Company-3’s securities based on information

 he deceptively obtained and knew or recklessly disregarded was material and

 nonpublic regarding Company-3’s financial results.

       63.    Starting on March 6, 2019 at 10:05am EST—the day that Company-3

 was scheduled to announce its financial results—Westbrook bought 5,000 shares

 of Company-3 stock and 285 Company-3 call options across four different option

 series for a total cost of approximately $494,325. Specifically, Westbrook

 purchased 5,000 shares of Company-3 stock at a cost of $433,275, and the

 following Company-3 call options at a total cost of $61,050:

   Call Options Purchased          Expiration Date                Strike Price
             20                       3/15/19                         $85
             190                      3/15/19                         $90
             25                       4/18/19                         $85
             50                       4/18/19                         $90

       64.    On March 6, 2019, after the stock market closed, Company-3

                                          22
Case 2:24-cv-09497-JKS-JSA     Document 1       Filed 09/27/24   Page 23 of 45 PageID: 23




 announced its financial results for the second quarter of its fiscal year 2019. Those

 results reflected material information about Company-3’s earnings that was

 included in the draft earnings call script that Westbrook gained access to when he

 hacked into Company-3’s computer system—such as total revenue for the second

 quarter of $169.3 million.

       65.    Company-3’s earnings announcement exceeded the consensus

 expectations of securities market analysts, who had predicted that the company’s

 total revenue for the quarter would be $159.71 million, as well as the company’s

 previously issued guidance ranges.

       66.    By the close of regular market trading the next day, Company-3’s

 stock price had increased 4.3%—from a closing price of $86.46 on March 6, 2019

 to a closing price of $90.22 on March 7, 2019.

       67.    On March 7, 2019, shortly after the stock market opened, Westbrook

 sold all of his stock and call options in Company-3. As a result of his trading in

 Company-3’s securities in connection with this earnings announcement,

 Westbrook obtained a total profit of approximately $236,492.

       68.    The options positions Westbrook established in Company-3 prior to

 this earnings announcement were large and risky. Westbrook’s purchases of

 Company-3 call options on March 6, 2019 accounted for approximately 11% of all

 Company-3 call options traded that day. In fact, going into Company-3’s earnings


                                           23
Case 2:24-cv-09497-JKS-JSA     Document 1      Filed 09/27/24   Page 24 of 45 PageID: 24




 announcement that day, Westbrook was, by far, the single largest retail holder of

 Company-3 call options.

       69.    Notably, Westbrook continued trading in advance of Company-3’s

 earnings announcements during the period of time when Executive-3’s emails

 continued to be auto-forwarded to the Barnesbainesbjorn account—from

 approximately March 2019 to approximately March 2020.

       70.    In one example, Westbrook bought $786,364 worth of Company-3 put

 options in advance of the company’s second quarter earnings announcement that

 took place on March 4, 2020. He did so based on material nonpublic information

 about Company-3’s financial results for the second quarter of its fiscal year 2020

 that Westbrook gained access to because of the email auto-forwarding rule. This

 included a draft revenue forecast that reported second quarter revenue that was

 somewhat higher than analysts’ consensus estimates ($174 million vs. $166.39

 million), but also included forecasted revenue for its fiscal year 2020 that was

 significantly lower than analysts’ consensus estimates ($724.7 million vs. $766.09

 million). The earnings announcement reflected mixed news, where Company-3

 beat certain quarterly expectations but significantly lowered its previous revenue

 guidance. By the close of business the next day, Company-3’s stock price declined

 approximately 17%. Starting on March 5, 2020 and extending over several trading

 days, Westbrook liquidated his options position and obtained a total profit of


                                          24
Case 2:24-cv-09497-JKS-JSA      Document 1    Filed 09/27/24   Page 25 of 45 PageID: 25




 approximately $1.04 million.

       71.    All told, between March 2019 and March 2020, Westbrook obtained a

 total profit of approximately $1,422,015 from his trading of Company-3 securities

 while he was aware of material nonpublic information about Company-3’s

 financial results.

    D. Hack of Company-4

       72.    During the Relevant Period, Company-4 was a Delaware corporation

 headquartered in El Dorado, Arkansas. It had a class of shares registered under

 Section 12(b) of the Exchange Act and its common stock traded on the NYSE.

       73.    On October 23, 2019, Westbrook hacked into Company-4’s computer

 system by misrepresenting his identity and deceptively using the credentials of an

 employee of Company-4.

       74.    Specifically, at approximately 7:19am EST, Westbrook reset the

 password of a senior accounting executive of Company-4 (“Executive-4”) through

 Company-4’s password reset portal—which used the same password reset portal

 software used by Company-1, Company-2, and Company-5. After he reset the

 password, Westbrook accessed Company-4’s computer system, including

 Executive-4’s Office 365 account and Outlook and Company-4’s SharePoint




                                         25
Case 2:24-cv-09497-JKS-JSA       Document 1     Filed 09/27/24   Page 26 of 45 PageID: 26




 application.4

       75.       While inside Executive-4’s Outlook, Westbrook created auto-

 forwarding rules designed to send certain emails from Executive-4 to

 Aleksandrdubois—the same anonymous email account that Westbrook used when

 setting up auto-forwarding rules in the hack of Company-1. In particular, the auto-

 forwarding rules were designed to forward any emails to Executive-4 that: (1)

 contained attachments and (2) were sent by Company-4’s president or from an

 audit partner at an accounting firm. The auto-forwarding rules were unsuccessful,

 however, because Company-4’s computer systems had been configured to prohibit

 email auto-forwarding.

       76.       Westbrook also deleted an email in Executive-4’s Outlook account

 titled “Password Reset Acknowledgment” and an item called “Outlook Rules

 Organizer.”

       77.       Furthermore, while inside Executive-4’s Outlook, Westbrook gained

 access to documents and emails containing material nonpublic information about

 Company-4’s financial results for the third quarter of its fiscal year 2019. This

 included an October 22, 2019 email containing a draft of Company-4’s earnings

 release for that quarter. The draft earnings release stated, among other positive



 4
  SharePoint is a collaboration platform offered by Microsoft, which allows
 employees to communicate, exchange information, and share files.
                                           26
Case 2:24-cv-09497-JKS-JSA    Document 1      Filed 09/27/24   Page 27 of 45 PageID: 27




 financial results, that Company-4’s “Net income was $69.2 million, or $2.18 per

 diluted share, in Q3 2019 compared to net income of $45.0 million, or $1.38 per

 diluted share, in Q3 2018” and its “Adjusted EBITDA grew 51% over the prior

 year[.]”

       78.    Westbrook purchased Company-4’s securities based on information

 he deceptively obtained and knew or recklessly disregarded was material and

 nonpublic regarding Company-4’s financial results.

       79.    Starting on October 25, 2019 at approximately 12:15 pm EST—about

 two days after the hack described above—Westbrook began purchasing Company-

 4 call options. Between the time of the hack and Company-4’s scheduled earnings

 announcement five days later, Westbrook purchased 1,342 Company-4 call options

 across eight different option series, the majority of which were out-of-the-money.

 Specifically, Westbrook purchased the following Company-4 call options for a

 total cost of $259,805:

   Call Options Purchased         Expiration Date                Strike Price
             100                     11/15/19                        $95
             138                     11/15/19                        $100
             326                     11/15/19                        $105
             120                     12/20/19                        $90
             184                     12/20/19                        $95
             194                     12/20/19                        $100
             230                     12/20/19                        $105
             50                      1/17/20                         $90

       80.    On October 30, 2019, after the stock market closed, Company-4

                                         27
Case 2:24-cv-09497-JKS-JSA      Document 1       Filed 09/27/24   Page 28 of 45 PageID: 28




 reported its financial results for the third quarter of its fiscal year 2019. Those

 results reflected material information about Company-4’s earnings that was

 included in the draft earnings release that Westbrook gained access to several days

 earlier when he hacked into Company-4’s computer system, including that

 Company-4’s net income was $69.2 million or $2.18 per diluted share, and its

 adjusted EBITDA grew 51% over the prior year.

       81.    Company-4’s earnings announcement exceeded the consensus

 expectations of securities market analysts, who had predicted that Company-4

 would report $1.46 earnings per diluted share for the quarter.

       82.    By the close of regular market trading the following day, Company-

 4’s stock price increased more than 24%—from a closing price of $94.84 on

 October 30, 2019 to a closing price of $117.93 on October 31, 2019.

       83.    On October 31, 2019, shortly after the stock market opened,

 Westbrook sold all of his Company-4 call options. As a result of his trading in

 Company-4 securities in connection with this earnings announcement, Westbrook

 obtained a total profit of approximately $1,398,436.

       84.    The options positions Westbrook established in Company-4 prior to

 this earnings announcement were large and risky. Westbrook’s purchases of

 Company-4 call options accounted for approximately 85% of all Company-4 call

 options traded between October 28, 2019 and October 30, 2019. In fact, going into


                                            28
Case 2:24-cv-09497-JKS-JSA      Document 1      Filed 09/27/24   Page 29 of 45 PageID: 29




 the earnings announcement on October 30, 2019, Westbrook owned more

 Company-4 call options than any other market participant and his call options

 position was more than twice the size of the next largest holder of call options.

      E. Hack of Company-5

         85.    During the Relevant Period, Company-5 was a Delaware corporation

 headquartered in San Jose, California. It had a class of shares registered under

 Section 12(b) of the Exchange Act and its common stock was traded on Nasdaq.

         86.    On February 3, 2020, Westbrook hacked into Company-5’s computer

 system by misrepresenting his identity and deceptively using the credentials of an

 employee of Company-5.

         87.    Specifically, at approximately 8:32am EST, Westbrook reset the

 password of a senior marketing executive of Company-5 (“Executive-5”) through

 Company-5’s password reset portal—which used the same password reset portal

 software used by Company-1, Company-2, and Company-4. After he reset the

 password, Westbrook accessed Company-5’s computer system, including

 Executive-5’s Office 365 account and Outlook, and Company-5’s SharePoint and

 OneDrive applications.5

         88.    While inside Executive-5’s SharePoint and OneDrive applications,

 Westbrook viewed documents containing material nonpublic information about


 5
     OneDrive is an internet-based storage platform offered by Microsoft.
                                           29
Case 2:24-cv-09497-JKS-JSA     Document 1      Filed 09/27/24   Page 30 of 45 PageID: 30




 Company-5’s financial results for the second quarter of its fiscal year 2020. For

 example, Westbrook accessed a draft letter from Company-5’s CEO entitled “Q2

 Earnings Email,” which stated, in part, that it had been an “incredible quarter for

 [Company-5] with all time high record revenue, gross margin and operating

 margin.” The documents Westbrook viewed also included a draft video script,

 titled “FY2020 Q2 Earnings Video Script,” for Company-5’s public earnings call

 that was scheduled to occur before the stock market opened the next day, February

 4, 2020. The draft video script described Company-5’s “record-breaking” second

 quarter results, stating, in part, the following: “Revenue: $457.8M (high end of

 guidance and new record); Gross Margin: 47.4% (new record); Operating Margin:

 28.8% (well above guidance); [and] EPS [earnings per share]: $1.53 (well above

 guidance).” (emphasis in original).

       89.    Westbrook also created an auto-forwarding rule in Executive-5’s

 Outlook designed to send all of Executive-5’s emails after the rule was set up to an

 anonymous email account, Harris.Slama—the same anonymous email account that

 Westbrook used to receive auto-forwarded emails in the hack of Company-2. The

 auto-forwarding rule was unsuccessful, however, because Company-5’s computer

 systems had been configured to prohibit email auto-forwarding for all users.

       90.    Westbrook purchased Company-5’s securities based on information

 he deceptively obtained and knew or recklessly disregarded was material and


                                          30
Case 2:24-cv-09497-JKS-JSA      Document 1      Filed 09/27/24   Page 31 of 45 PageID: 31




 nonpublic regarding Company-5’s financial results.

       91.    Starting on February 3, 2020, at approximately 10:14am EST—less

 than two hours after the hack described above—Westbrook began purchasing

 Company-5 call options. Between the time of the hack and Company-5’s

 scheduled earnings announcement the next morning, Westbrook purchased 1,917

 Company-5 call options across nine different option series, the majority of which

 were out-of-the-money. Specifically, Westbrook purchased the following

 Company-5 call options for a total cost of approximately $492,802:

   Call Options Purchased           Expiration Date                Strike Price
             100                       2/14/20                         $80
             500                       2/14/20                         $82
             135                       2/14/20                         $85
             361                       2/28/20                         $85
             150                       2/28/20                         $90
             170                       3/20/20                         $75
             240                       3/20/20                       $77.50
             200                       3/20/20                         $80
             61                        3/20/20                         $85

       92.    On February 4, 2020, at 7:30am EST, Company-5 reported its

 financial results for the second quarter of its fiscal year 2020. Those results

 reflected material information about Company-5’s earnings that was included in

 the drafts to which Westbrook gained access the day before when he hacked into

 Company-5’s computer system, including revenue of $457.8 million, gross margin

 of 47.4%, operating margin of 28.8%, and earnings per diluted share of $1.53.


                                           31
Case 2:24-cv-09497-JKS-JSA     Document 1      Filed 09/27/24   Page 32 of 45 PageID: 32




       93.    Company-5’s earnings announcement exceeded the consensus

 expectations of securities market analysts, who had predicted that Company-5

 would report adjusted earnings per share of $1.29.

       94.    By the close of regular market trading that day, Company-5’s stock

 price increased 12%—from a closing price of $77.22 on February 3, 2020 to a

 closing price of $86.52 on February 4, 2020.

       95.    On February 4, 2020 at 9:31am EST—less than two hours after

 Company-5 reported its financial results—Westbrook began selling his Company-

 5 call options. By the close of regular market trading that day, Westbrook obtained

 a total realized and unrealized profit of $217,535 from his trading of Company-5

 securities in connection with this earnings announcement.

       96.    The options positions Westbrook established in Company-5 prior to

 this earnings announcement were large and risky. Westbrook’s purchases of

 Company-5 call options accounted for approximately 25% of all Company-5 call

 options traded on February 3, 2020. In fact, going into the earnings announcement

 on February 4, 2020, Westbrook owned more Company-5 call options than any

 other market participant.

 III. Summary of Westbrook’s Profits from Trading in the Hacked Companies

       97.    Westbrook’s participation in this scheme was highly lucrative.

 Westbrook obtained approximately $3.75 million in illicit profits by trading in the


                                          32
Case 2:24-cv-09497-JKS-JSA     Document 1      Filed 09/27/24   Page 33 of 45 PageID: 33




 securities of the Hacked Companies prior to the release of at least 14 earnings

 announcements while he knew, or recklessly disregarded, that the information he

 deceptively obtained from the Hacked Companies was material and nonpublic.

       98.    The following table summarizes Westbrook’s trading in connection

 with those 14 earnings announcements:

 Issuer and     Pre-           Post-      Equity                   Profit     Return
   Date of  Announcement Announcement Price %
  Earnings Closing Equity Closing Equity Change
 Announce       Price          Price
    ment
 Company-1     $38.13         $27.67     -27.43%                  $322,781     249%
  1/30/2019

 Company-3         $86.46             $90.22           4.35%      $236,492      48%
  3/6/2019
 Company-2         $19.49             $17.05          -12.52%      $40,679      24%
  5/8/2019
 Company-3         $98.10             $95.15          -3.01%      $146,667      21%
  6/4/2019
 Company-2         $11.05              $9.98          -9.68%       $25,673         1%
  8/8/2019

 Company-3         $95.41             $109.41         14.67%      -$149,285     -49%
  9/5/2019

 Company-4         $94.84             $117.93         24.35%     $1,398,436    538%
 10/30/2019

 Company-2         $15.71             $18.47          17.57%      -$144,724     -58%
  11/6/2019
 Company-3         $119.33            $110.77         -7.17%      -$39,629         -1%
  12/5/2019



                                          33
Case 2:24-cv-09497-JKS-JSA       Document 1      Filed 09/27/24   Page 34 of 45 PageID: 34




 Issuer and     Pre-           Post-     Equity                      Profit     Return
   Date of  Announcement Announcement Price %
  Earnings Closing Equity Closing Equity Change
 Announce       Price          Price
    ment
 Company-5     $77.22         $86.52     12.04%                     $217,535      44%
  2/4/2020

 Company-2           $11.94             $12.07           1.09%       $14,639      74%
  2/26/2020

 Company-3           $112.48            $93.56          -16.82%    $1,038,855    132%
  3/4/2020
 Company-2            $6.19              $8.03          29.73%      $310,485      39%
  5/6/2020
 Company-2           $12.28             $12.32           0.33%       -$4,279      -18%
  7/29/2020
    Total                                                          $3,752,242     91%
   Profits
 (Excluding
   Losses)


 IV.    Westbrook Hacked into the Hacked Companies

       99.      Forensic data, blockchain data, and other data establish that

 Westbrook hacked into the Hacked Companies to obtain their nonpublic earnings

 information.

       100. Westbrook’s payment to and use of a VPN service provider (“VPN

 Service Provider-1”) identifies Westbrook as the person who hacked into the

 Hacked Companies.

                a.    On October 22, 2019, Westbrook, through a Bitcoin wallet he


                                            34
Case 2:24-cv-09497-JKS-JSA   Document 1      Filed 09/27/24   Page 35 of 45 PageID: 35




                   controlled, sent a Bitcoin payment equal to approximately

                   $36.93 to VPN Service Provider-1 for a yearly subscription for

                   its VPN services.

             b.    A subsequent email sent to one of the anonymous email

                   accounts—Aleksandrdubois, which was used in the hacking of

                   Company-1 and Company-4—confirmed that a yearly

                   subscription to VPN Service Provider-1’s VPN service

                   commenced approximately twenty seconds after Westbrook

                   sent that Bitcoin payment to VPN Service Provider-1.

             c.    That same day, VPN Service Provider-1’s VPN service was

                   used from the same IP address to sign into (i) one of the

                   anonymous email accounts (Harris.Slama) that was used in the

                   hacking of Company-2 and Company-5 and (ii) an email

                   account (LoraineRanos796[@]aol.com) (“LoraineRanos”) that

                   was the recovery email account for two of the anonymous email

                   accounts (Aleksandrdubois and Barnesbainesbjorn) used in the

                   hacking of the Hacked Companies.

             d.    The next morning, VPN Service Provider-1’s VPN service was

                   used in the hack into Company-4’s computer system described

                   above.


                                        35
Case 2:24-cv-09497-JKS-JSA    Document 1       Filed 09/27/24   Page 36 of 45 PageID: 36




             e.     About two days later, on October 25, Westbrook began

                    purchasing call options in Company-4 in advance of its

                    earnings announcement.

       101. Moreover, Westbrook engaged in other conduct that further

 establishes him as the hacker in this hack-to-trade scheme.

             a.     During the Relevant Period, Westbrook used several VPN

                    services. Each of the hacks discussed above took place using

                    VPN services to which Westbrook subscribed. For example, on

                    or about December 24, 2018, Westbrook purchased a yearly

                    subscription to another VPN service provider (“VPN Service

                    Provider-2”). The next month, an IP address attributed to VPN

                    Service Provider-2 was used to access the Harris.Slama email

                    account and the LoraineRanos email account. And during the

                    Relevant Period, Westbrook had an active subscription to a

                    third VPN service provider (“VPN Service Provider-3”). IP

                    addresses attributed to VPN Service Provider-3 were used in

                    the hacking of Company-5. IP addresses attributed to VPN

                    Service Provider-3 were also used to access the

                    Barnesbainesbjorn account, which was used in the hacking of

                    Company-3.


                                          36
Case 2:24-cv-09497-JKS-JSA    Document 1      Filed 09/27/24   Page 37 of 45 PageID: 37




             b.     During the Relevant Period, Westbrook made payments to an

                    online directory service provider and an online genealogy

                    company. Both of those companies provide personal and family

                    information that could be used to guess the answers to the

                    security questions that employees at the Hacked Companies

                    may have used to reset their passwords.

             c.     Westbrook subscribed to at least five CAPTCHA6 solving

                    services. The self-service password reset portal software used

                    by four of the five Hacked Companies allowed the companies

                    to require CAPTCHA verification. CAPTCHA solving services

                    would have helped Westbrook bypass verification requirements

                    in his efforts to reset the passwords of the Hacked Companies’

                    senior executives.

             d.     Westbrook purchased at least five highly technical hacker

                    manuals, including “The Hacker Playbook 3: Practical Guide to

                    Penetration Testing” and “Tribe of Hackers: Cybersecurity

                    Advice from the Best Hackers in the World.”



 6
   CAPTCHA is a type of security measure known as a challenge-response
 authentication. It helps protect an account holder from password decryption by
 completing a basic test that proves the account holder is human and not a computer
 trying to break into a password protected account.
                                         37
Case 2:24-cv-09497-JKS-JSA     Document 1      Filed 09/27/24   Page 38 of 45 PageID: 38




              e.    Westbrook opened over 50 email accounts, including

                    anonymous email accounts hosted by overseas service

                    providers known to be unreachable by law enforcement.

              f.    Westbrook purchased a vulnerability scanner, which is a

                    software tool designed to permit a user to test and exploit the

                    security of web applications.

              g.    Westbrook received email communications from online

                    platforms known to sell hacking applications.

       102. Finally, Westbrook previously admitted that he possessed the

 knowledge and technical computing skill to engage in acts akin to hacking. While

 employed at a financial firm, Westbrook accessed and downloaded an entire

 database from a third-party vendor—at a time when Westbrook and his colleagues

 were not expected to access the database. When an internal investigation at the

 financial firm revealed that Westbrook had downloaded the database, he admitted

 that he wrote a computer script that enabled him to download all the data on the

 database overnight.

 V.    Westbrook’s State of Mind and Efforts to Conceal His Conduct

       103. At all times relevant to this Complaint, Westbrook acted knowingly

 and/or recklessly in carrying out this scheme. He intended to hack into the




                                          38
Case 2:24-cv-09497-JKS-JSA       Document 1    Filed 09/27/24   Page 39 of 45 PageID: 39




 computer systems of the five Hacked Companies for the purpose of obtaining

 material nonpublic information.

       104. Westbrook traded profitably in the securities of the Hacked

 Companies using the material nonpublic information he deceptively obtained, and

 he knew or recklessly disregarded that this information was material and

 nonpublic.

       105. Westbrook repeatedly established large options positions in the

 Hacked Companies shortly before they were set to make their public earnings

 announcements. And those options positions were often out-of-the-money and/or

 were set to expire in the near term—increasing the risk that those options would

 expire worthless.

       106. In addition, Westbrook sought to conceal his conduct from detection

 in a variety of ways. This included:

              a.     Using computer technology (such as VPN services) to hide his

                     location;

              b.     Using affirmative misrepresentations to pose as others in order

                     to access the computer systems of the Hacked Companies;

              c.     Deploying anonymous email accounts;

              d.     Deleting emails in a senior executive’s account to cover up his

                     hacking in Company-4.


                                          39
Case 2:24-cv-09497-JKS-JSA     Document 1       Filed 09/27/24   Page 40 of 45 PageID: 40




       107. Moreover, Westbrook received emails from a company that sells

              software to wipe evidence from devices. Those emails indicated that

              Westbrook had previously purchased this software.

       108. This evidence shows that Westbrook acted with the requisite scienter

 when he executed this fraudulent scheme and took efforts to conceal his conduct.

 VI.   Conclusion

       109. As detailed above, Westbrook executed a fraudulent hack-to-trade

 scheme. Westbrook deceptively obtained material nonpublic information from the

 Hacked Companies’ computer systems and then used that information to trade

 profitably in the securities of the Hacked Companies in advance of their earnings

 announcements.

       110. In perpetuating that fraudulent scheme, Westbrook made material

 misrepresentations, affirmatively misrepresented himself and his identity, and

 employed a variety of deceptive and fraudulent devices, contrivances, artifices,

 practices, means, and acts in order to access the computer systems of five Hacked

 Companies and to obtain nonpublic information about the Hacked Companies’

 earnings.

       111. Westbrook did so for the purpose of using that information to trade in

 the securities of the Hacked Companies.

       112. And Westbrook did just that. Based on deceptively-obtained


                                           40
Case 2:24-cv-09497-JKS-JSA      Document 1       Filed 09/27/24   Page 41 of 45 PageID: 41




 information that he knew or recklessly disregarded was material and nonpublic,

 Westbrook purchased the Hacked Companies’ securities and then sold them

 following the Hacked Companies’ earnings announcements, obtaining illicit profits

 of approximately $3.75 million.

                              CLAIM FOR RELIEF
   Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Thereunder

       113. The Commission re-alleges and incorporates by reference here the

 allegations in paragraphs 1 through 112.

       114. By engaging in the conduct described above, the Defendant

 knowingly or recklessly, in connection with the purchase or sale of securities,

 directly or indirectly, by the use of means or instrumentalities of interstate

 commerce, or the mails, or the facilities of a national securities exchange:

              a. employed devices, schemes, or artifices to defraud;

              b. made untrue statements of a material fact or omitted to state

                 material facts necessary in order to make the statements made, in

                 light of the circumstances under which they were made, not

                 misleading; and/or

              c. engaged in acts, practices, or courses of business which operated or

                 would operate as a fraud or deceit upon any person.




                                            41
Case 2:24-cv-09497-JKS-JSA     Document 1        Filed 09/27/24   Page 42 of 45 PageID: 42




       115. By engaging in the foregoing conduct, the Defendant violated, and

 unless enjoined will continue to violate, Section 10(b) of the Exchange Act [15

 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5].


                              PRAYER FOR RELIEF

       WHEREFORE, the Commission respectfully requests that the Court enter a

 Final Judgment:

                                           I.

       Permanently restraining and enjoining Westbrook and his agents, servants,

 employees and attorneys and all persons in active concert or participation with any

 of them from violating, directly or indirectly, Section 10(b) of the Exchange Act

 [15 U.S.C. § 78j(b)] and Rule 10b-5(b) thereunder [17 C.F.R. §§ 240.10b-5(b)].

                                           II.

       Ordering Westbrook to disgorge all illicit profits, avoided losses, or other ill-

 gotten gains he received, directly or indirectly, with prejudgment interest thereon,

 as a result of the violations alleged in this Complaint, pursuant to Sections

 21(d)(3), 21(d)(5), and 21(d)(7) of the Exchange Act [15 U.S.C. §§ 78u(d)(3),

 78u(d)(5), and 78u(d)(7)].

                                          III.

       Ordering Westbrook to pay a civil penalty pursuant to Section 21A of the

 Exchange Act [15 U.S.C. § 78u-1] or, alternatively, to pay a civil penalty under
                                           42
Case 2:24-cv-09497-JKS-JSA    Document 1       Filed 09/27/24   Page 43 of 45 PageID: 43




 Section 21(d) of the Exchange Act [15 U.S.C. § 78u(d)].

                                         IV.

       Granting any other and further relief this Court may deem just, equitable, or

  necessary.

                                 JURY DEMAND

       The Commission demands a trial by jury.

 Dated:        New York, New York
               September 27, 2024

                                 /s/ Russell J. Feldman
                                 Joseph G. Sansone
                                 Jorge Tenreiro
                                 Alison R. Levine
                                 Russell J. Feldman
                                 Karolina Klyuchnikova
                                 U.S. Securities and Exchange Commission
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                                 Attorneys for Plaintiff
                                 Securities and Exchange Commission




                                         43
Case 2:24-cv-09497-JKS-JSA     Document 1       Filed 09/27/24   Page 44 of 45 PageID: 44




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

  SECURITIES AND EXCHANGE
  COMMISSION,
                                                          Civil Action No.
                              Plaintiff,
                                                          DESIGNATION OF
                 -against-
                                                          AGENT FOR SERVICE
  ROBERT B. WESTBROOK,

                              Defendant.



       Pursuant to Local Rule 101.1(f), because the Securities and Exchange

 Commission (the “Commission”) does not have an office in this district, the United

 States Attorney for the District of New Jersey is hereby designated as eligible as an

 alternative to the Commission to receive service of all notices or papers in the

 captioned action.




                                           44
Case 2:24-cv-09497-JKS-JSA    Document 1      Filed 09/27/24   Page 45 of 45 PageID: 45




       Therefore, service upon the United States or its authorized designee, David

 Dauenheimer, Deputy Chief, Health Care Fraud Unit, United States Attorney’s

 Office for the District of New Jersey, 970 Broad Street, Suite 700, Newark, NJ

 07102, shall constitute service upon the Commission for purposes of this action.



                                 Respectfully submitted,


                                 /s/ Russell J. Feldman
                                 Joseph G. Sansone
                                 Jorge G. Tenreiro
                                 Alison R. Levine
                                 Russell J. Feldman
                                 Karolina Klyuchnikova
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                                 Attorneys for Plaintiff
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                                         45
